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                                 UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF WEST VIRGINIA
                                             CHARLESTON DIVISION
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IN RE ETHICON, INC., PELVIC REPAIR                           : CIVIL ACTION NO. 2:12-md-02327
SYSTEM PRODUCTS LIABILITY                                    : MDL No. 2327
LITIGATION                                                   :
------------------------------------------------------------ : Judge Joseph R. Goodwin
This Document Applies To All Actions                         :
------------------------------------------------------------ X

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           PLAINTIFFS’ CERTIFICATE OF SERVICE OF FIRST AMENDED
             NOTICE TO TAKE ORAL DEPOSITION OF DR. JIM HART

       I hereby certify that on May 10, 2013, I served Plaintiff’s First Amended Notice to Take

Oral Deposition of Dr. Jim Hart via email and the foregoing document was electronically filed

with the Clerk of the Court using the CM/ECF system which will send notification of such filing

to the CM/ECF participants registered to receive service in this MDL.

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